UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 Esteban Marquez,                                                 )
                                                                  )
                                                    Plaintiff(s), )    DECLARATION OF
                                                                  )    STEVEN J. MOSER IN
                            -against-                             )    OPPOSITION TO
                                                                  )    DEFENDANT
 Indian Taj, Inc. d/b/a Santoor Indian Restaurant, Balvinder      )    JOGINDER SINGH’S
 Singh, Harmindder Singh, Joginder Singh, Kirpal Singh, and )          MOTION TO VACATE
 Mehanga Singh,                                                   )    AND DISMISS
                                                                  )
                                                 Defendant(s). )       Case No. 20-cv-
                                                                       5855(DG)(RML)

       Pursuant to 28 U.S.C. § 1746, I hereby declare as follows:

       1.      I represent the Plaintiff herein.

       2.      I make this declaration in opposition to Defendant Joginder Singh’s Motion to

Vacate the Default Judgment and Dismiss.

       3.      Locating assets to satisfy the judgment in this action was a frustrating and

painstaking process. Name searches produced numerous individuals bearing the Defendants’

first and last names. After repeated efforts, we were able to obtain Mr. Joginder Singh’s date of

birth in October 2024, and assets were located.

       4.      On November 21, 2024 Joginder Singh moved to vacate the default judgment as

void pursuant to Rule 60(b)(4) and to dismiss the claims against him for insufficient service of

process pursuant to Rule 12(b)(5).

       5.      On November 26, 2024 I spoke via telephone with counsel for Mr. Singh. I

advised him that we believed that the allegations made by Mr. Singh were conclusory and that

we would be challenging the sufficiency of his declaration and the evidence submitted in support

of the motion. Therefore, I requested that if Mr. Singh wanted to furnish a further affidavit or
documents in support of his motion, that he do so prior to our opposition so that we could

address the evidence presented in our opposition.

       6.      Annexed hereto as Exhibit 1 is a true and accurate copy of a form titled

“Application for Approval of Corporate Change” obtained via FOIL Request from the New York

State Liquor Authority. According to this application, as of May 2013, Mr. Joginder Singh was a

25% owner and the Vice President of Indian Taj, Inc. d/b/a Santoor Indian Restaurant. The

correct address of the restaurant is “257-05 Union Turnpike, Glen Oaks, New York”, which

matches the address contained in the affidavit of service.

       7.      Neither the State Liquor Authority nor Mr. Singh has produced any document

showing that Joginder Singh was removed as Vice President or that his ownership was

transferred at any time from May 2013 until the date of service of the summons and complaint

upon him in May 2021.

       I declare under penalty of perjury, that the foregoing is true and correct.

Dated: December 13, 2024
       Huntington, New York


                                              Steven J. Moser
